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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

United States of America,

              Plaintiff,

v.                                                               Crim. No. 07-219 (JNE/AJB)
                                                                 ORDER
Jose Dolores Almada-Cota (1) and
Victor Arriaga Valverde (2),

              Defendants.

       This case is before the Court on a Report and Recommendation issued by the Honorable

Arthur J. Boylan, United States Magistrate Judge, on October 30, 2007. The magistrate judge

recommended that Jose Dolores Almada-Cota’s and Victor Arriaga Valverde’s motions to

suppress be denied and that Almada-Cota’s motion for severance be denied. Almada-Cota and

Valverde objected, and the government responded. The Court has conducted a de novo review

of the record. See D. Minn. LR 72.2(b). Based on that review, the Court adopts the Report and

Recommendation. Therefore, IT IS ORDERED THAT:

       1.     Almada-Cota’s Motion to Suppress All Electronic Surveillance Evidence
              and any Evidence Derived Therefrom [Docket No. 35] is DENIED.

       2.     Almada-Cota’s Motion to Suppress Evidence due to a Rule 5(a) Violation
              [Docket No. 36] is DENIED.

       3.     Almada-Cota’s Motion to Suppress Statements, Admissions and Answers
              [Docket No. 37] is DENIED.

       4.     Almada-Cota’s Motion to Suppress Evidence Obtained as a Result of
              Search and Seizure [Docket No. 38] is DENIED.

       5.     Valverde’s Motion to Suppress a Rule 5(a) Violation [Docket No. 27] is
              DENIED.

       6.     Valverde’s Motion to Suppress Evidence Obtained Pursuant to Search
              Warrant [Docket No. 28] is DENIED.




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      7.     Almada-Cota’s oral motion for severance of defendants [No Docket No.]
             is DENIED.

Dated: December 6, 2007

                                                       s/ Joan N. Ericksen
                                                       JOAN N. ERICKSEN
                                                       United States District Judge




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